                                  CRIMINAL COVERSHEET
      DEFENDANT’S NAME: Joseph Alan Hoadley                               JUVENILE: No
      DEFENSE ATTORNEY: Charles Peterson
                 Address: 671 E. Riverpark Lane
                          Ste. 210
                                                                 PUBLIC or SEALED: Public
                          Boise, ID 83706

                                                                      SERVICE TYPE: Summons
                                                               (Summons or Warrant or
                                                                Notice (if Superseding))
                  Telephone No.: (208) 336-2060                                  ISSUE:


  INVESTIGATIVE AGENT: Ryan O'Neil                                    INTERPRETER: No
               Telephone No.:                                        If YES, language:
                              Federal Bureau of
                   AGENCY:
                              Investigation
CASE INFORMATION: Deprivation of Rights under                RELATED COMPLAINT: No
Color of Law, 18 U.S.C. § 242                                CASE NUMBER:


                                CRIMINAL CHARGING INFORMATION
           CHARGING
                        Information
         DOCUMENT:
                Felony:       No                       County of Offense: Canyon
  Class A Misdemeanor:        Yes                    Estimated Trial Time: 2 days
           Class B or C
          Misdemeanor:
              (Petty Offense)
                                  COUNT/                                            PENALTIES
       STATUTE
                                FORFEITURE        BRIEF DESCRIPTION        (Include Supervised Release and
  (Title and Section(s))        ALLEGATION                                       Special Assessment)
                                                                          Up to 1 year of imprisonment;
                                                                          up to 1 year of supervised
                                                  Deprivation of Rights
18 U.S.C. § 242                    ONE                                    release; up to a $100,000.00
                                                   under Color of Law
                                                                          fine; and a $25 Special
                                                                          Assessment

   Date:      25 March 2022                  Assistant U.S. Attorney: Katherine Horwitz
                                                      Telephone No.: () 
